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Exhibit J
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Page 1 :

1 IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

2 SOUTHERN DIVISION
3 :
4 GARY BRICE McBAY,
Plaintiff, :

6 VERSUS CIVIL ACTION NO: 1:07cv1205LG-RHW :
7
HARRISON COUNTY, MISSISSIPPI, i

8 by and through its Board of
Supervisors; HARRISON COUNTY
9 SHERIFF, George Payne, in his
official capacity; CORRECTIONS
10 OFFICER MORGAN THOMPSON,
acting under color of state law,
il Defendants.

eA a,

AER SI TASS,

DEPOSITION OF REGINA L. RHODES

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SSER a

15 Taken at the offices of Brown Buchanan,
P.A., 796 Vieux Marche!' Mall, Suite Il,
16 Biloxi, Mississippi, on Thursday,
September 17, 2009, beginning at 2:22
17 p.m.

So ESN DRE EE SIRS MESSI OR RE GMA

19 APPEARANCES:
20 PATRICK R. BUCHANAN, ESQUIRE
MARK V. WATTS, ESQUIRE
21 Brown Buchanan, P.A.
796 Vieux Marche’ Mall, Suite 1
22 Biloxi, Mississippi 39530
ATTORNEYS FOR PLAINTIFF

SEES AEE

SANE

SA RE

LENO

NALS

JOE C. GEWIN, ESQUIRE
24 Dukes, Dukes, Keating & Faneca, P.A.
2909 13th Street, Sixth Floor
25 Gulfport, Mississippi 39501
ATTORNEY FOR GEORGE PAYNE, UR.

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Oo wat D OF FPF W NY FF

Center. I'm going to call it the jail just

because I don't want to say four words instead of
one word, frankly. So when I say "jail," can we
understand that I'm referring to the Harrison
County --

A. Yes, sir.

QO. -- Detention Center?

All right. When you worked there, are |
you familiar with the term "brother by a different
mother," the phrase?

A. Yes, sir.

Q. What's that mean to you?

A. Well, basically, we shortened it,
brother from another mother. It was just to
explain the closeness between the folks that
worked at the jail.

Q. All right. The correction officers that
worked together?

A. Yes, sir.

Q. And y'all were close and relied on each
other and depended on each other?

A. Yes, Sir.

Q. All right. Have you heard the term "red
light, green light"?

A. Yes, sir.

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Oo wat HD OF FBP W NY EF

Le RL RU AE OO Da GOT NTE TE TELA EOD RTE PASE SS ST LI A SE ADEN ESI EE TED a RROD ADLER LEDS AES BSE ERO TSE LAE ISS ESSELTE SEES SH ESET SE SEES SE EE BADE ALLA LEESON SELES ILE

Page 10 :

Q. Was that a phrase that was used in
booking?

A. Yes, Sir, it was.

Q. Tell us what that phrase means to you.

A. Red light would be the facial area,
anything that you -- you weren't supposed to hit

anything that would show on a booking photo, and
green light would be the rest of the body.

Q. All right. And how did y'all come to
use red light, green light and determine where you
should and shouldn't hit?

A. Well, after Deputy Thompson had a
particularly bad booking shot of an inmate named
Only, OIC Teel had a impromptu meeting with our
shift in the back of booking and inmate records
and said that red light, green light -- you know,
that the chief was -- the chief, Captain Gaston,
was upset about the booking photo and that we
needed to be more careful.

Q. All right. Be more careful where you
hit people?

A. Yes, sir.

Q. Okay. So it's okay to hit folks just as
long as it didn't show up on the booking photo?

MR. GEWIN:

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1 Object to leading.

2 MS. YOUNG:

3 Object to the form.

4 MR. BUCHANAN:

5 Q. Subject to the objection, did you hear

6 my question?

7 A. Yes, sir, I did.

8 Q. Okay. So it was okay to hit people as

9 long as it didn't show up on the booking photo?
10 . A. Yes, sir.
11 — Q. People in booking, I mean, there are
12 different legal terms for them, inmates, detainees

13 and all of that. I'm going to call them inmates

14 just for sake of ease again, not necessarily

15 subscribing any legal terms or get you to give me
16 legal opinions on the different rights owed to an
17 inmate versus a detainee and all of that. Okay?
18 Was it common, in your experience when you were
19 there, for inmates that were brought in there to
20 be taunted by the correction officers?

21 A. Yes, sir.

22 Q. Tell us about that.

23 A. If the inmate came in and was either

24 running their mouth or, you know, belligerent in

25 any way, you know, even if they weren't sometimes,

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the officers would start picking on them, taunting

them, you know, if -- in particular, if somebody
was looking at you, you know, looking at you hard,
you know, you might say if you're feeling froggy
jump or, you know, you're looking at me like you
want to hit me, go ahead, stuff to that effect.

Q. Did you hear Officer Teel ever taunt
inmates?

A. Yes, sir.

Q. Did you hear Officer Thompson ever taunt
inmates?

A. Yes, sir.

Q. Did you hear Officer Wills ever taunt
inmates?

A. Yes, sir.

Q. How about Officer Stolze, did he ever
taunt the inmates?

A. Yes, sir.

Q. And Officer Thompson has pled guilty to
charges arising out of his employment there at the
jail and is serving time?

A. Yes, sir.

Q. All right. And the same with Officer

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Stolze?
A. Yes, sir.
VELL WHT ESTAS ED eo ELSIE SEDGE A EET LEE SED: Lei ER SBE SED IS CEI AG ELAS ERE SET EEL ET Sd HERPES TDRSS BEDALE EE ESD SELLS SACRE DES AEG BIE A SELLE i MELEE EEE NEB EASE ARIES EES SEE TETEDIE SEBEL ES DAES ILS EN ES GEL AEES AREER DET A BABE ERR EERE AEE EE:
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Page 13
1 Q. And Officer Priest?
2 A. Yes, sir.
3 Q. And Officer Wills?
4 A. Yes, Sir.
5 Q. All right. Folks that would come in who
6 had been drinking, were they more apt to be
7 taunted by these officers?
8 A. To me, I would say they appeared to be.
9 Q. And why is that?
10 A. They were easier targets.
11 Q. Give me one minute real quick. Let me

12 jump -- and I hate to jump around on you, but I
13 need to ask a couple of questions before I ask
14 some other questions. So let me go back to

15 Exhibit 1. On Page 3 of Exhibit 1, it says that,

16 While she, being you, were assigned to the booking
17 area, you observed Teel and other corrections

18 officers engage in a pattern of physical abuse of
19 inmates at the jail. Is that a true statement?

20 A. Yes, sir.

21 Q. All right. More specifically, Teel and
22 other correction officers routinely participated
23 in striking, punching, kicking, choking and

24 otherwise assaulting inmates in circumstances that

25 did not justify the use of force. Is that a true

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statement?

A. Yes, sir, it is.

Q. Those things, that pattern, that
practice of abuse, did that happen -- I mean, did
it happen just on one day during the time you were
there or did it happen for a long period of time
while you were employed there?

A. It was almost daily while I was employed
there.

Q. All right. It said, Teel regularly
encouraged other correction officers regarding
their involvement in this conduct. Is that a true
statement?

A. Yes, sir, it is.

Q. Meaning he did things and he got the
other officers involved in the things -- the
assault on the inmates?

A. Yes, sir.

Q. All right. Additionally, Teel and other
correction officers submitted false, incomplete,
and misleading jail reports for the purpose of
covering up these assaults. Is that a true
statement?

A. Yes, sir.

Q. All right. And it says you were aware

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Oo wa WD oO FPF W NY FEF

that Teel and other correction officers were

submitting false and incomplete and misleading
reports to cover up the uses of unnecessary force
and failed to report their criminal conduct. Is
that a true statement?

A. Yes, Sir, it is.

Q. All right. Those things that I just

read in that paragraph, do those things apply to

‘Officer Stolze?

A. Yes, sir.

Q Do they apply to Officer Priest?

A Yes, sir.

Q. Do they apply to Officer Teel?

A Yes, sir.

Q. Do they apply to Morgan Thompson,
Officer Thompson?

A. Yes, Sir.

Q. All right. Were you there on the night
the incident happened with Jessie Lee Williams?

A. Yes, sir, I was.

Q. Before Mr. Williams was beaten to death,

was he taunted by the booking officers?
A. Yes, sir, he was.

Q. Did Mr. Williams make any comments or

say anything to the booking officers either before

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or when they were taunting him?

MR. BRENDEL:

Object to the form. When you're talking
about booking officers, I want to make sure we
know which booking officers we're talking about..
MR. BUCHANAN:

Q. Do you recall who was on duty that

night?
A. Yes, sir.
Q. Who was on duty that night?
A. Myself, orc Teel, and Thompson.
Q. Morgan Thompson --
A. Yes, sir.

Q. -- and Officer Teel? All right. And
did Officer Teel and Officer Thompson taunt
Mr. Williams?

A. Yes, sir.

Q. Did he say anything to Officer Teel or
Officer Thompson before or when they were taunting
him?

A. While he was handcuffed he said he was
going to beat Teel's ass.

QO. But he was handcuffed when he said that?

A. Yes, sir.

Q. And then after Mr. Williams was beat,

ance

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2
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mm WwW NE OC wo © YY DB oO B® W NY FP OO 6

the nurse was called, right?

A. Yes, sir.

Q. And the nurse looked at him, said he had

a cut lip, cut ear and his eyes were puffy?

A. Yes, sir.

Q. And she also said, I believe, that he
didn't need to go to -- he didn't need to go out
for AMR?

A. Yes, sir.

Q. All right. She said that he was going
to live and be okay?

A. Yes, sir.

Q. And I asked you this, and it's in your
pleas. So the booking officers would falsify
their reports; is that right?

A. Yes, sir.

MR. GEWIN:

Object to the form.
MR. BRENDEL: .

Object to the form, time.
MR. BUCHANAN:

Q. I'm trying to look for a page

discreetly, and I'm not having that much luck, so

I apologize. So I'll just tell you that I'm

taking an extra minute here because I can't find

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1 the page that I was looking for. There we go.

2 The objection was time. Would it be

3 fair to say that from when you started in May of

4 2004 until when you left in April of 2006, the
5 corrections officers would falsify reports?

6 A. Yes, Sir.

7 MR. BRENDEL:

8 Object to the form, not specifying the

9 correction officers' names.

10 MR. BUCHANAN:

‘ii Q. You and I have already talked about the
12° names of correction officers who falsified

13 reports, haven't we?

14 A. Yes, sir.

15 Q. Thank you.

16 (Exhibit 2 was marked.)

177 MR. BUCHANAN:

18 —6O. Exhibit 2 is the Uniform Booking/Arrest

19 Form for William David Seal, and I want to talk to

EEE 00 EOE UA SHOU RSA TEES EERO

20 you about that in terms of you weren't on duty

21 when Mr. Seal was booked into the jail. And let

22 me ask you this: You're aware that there are
23 cameras in the jail, right --
24 A. Yes, sir.

25 Q. -~ showing different areas of the

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